Case 2:18-cv-07241-CAS-PLA Document 155 Filed 07/19/21 Page 1 of 16 Page ID #:6899
Case 2:18-cv-07241-CAS-PLA Document 155 Filed 07/19/21 Page 2 of 16 Page ID #:6900
Case 2:18-cv-07241-CAS-PLA Document 155 Filed 07/19/21 Page 3 of 16 Page ID #:6901
Case 2:18-cv-07241-CAS-PLA Document 155 Filed 07/19/21 Page 4 of 16 Page ID #:6902
Case 2:18-cv-07241-CAS-PLA Document 155 Filed 07/19/21 Page 5 of 16 Page ID #:6903
Case 2:18-cv-07241-CAS-PLA Document 155 Filed 07/19/21 Page 6 of 16 Page ID #:6904
Case 2:18-cv-07241-CAS-PLA Document 155 Filed 07/19/21 Page 7 of 16 Page ID #:6905
Case 2:18-cv-07241-CAS-PLA Document 155 Filed 07/19/21 Page 8 of 16 Page ID #:6906
Case 2:18-cv-07241-CAS-PLA Document 155 Filed 07/19/21 Page 9 of 16 Page ID #:6907
Case 2:18-cv-07241-CAS-PLA Document 155 Filed 07/19/21 Page 10 of 16 Page ID
                                 #:6908
Case 2:18-cv-07241-CAS-PLA Document 155 Filed 07/19/21 Page 11 of 16 Page ID
                                 #:6909
Case 2:18-cv-07241-CAS-PLA Document 155 Filed 07/19/21 Page 12 of 16 Page ID
                                 #:6910
Case 2:18-cv-07241-CAS-PLA Document 155 Filed 07/19/21 Page 13 of 16 Page ID
                                 #:6911
Case 2:18-cv-07241-CAS-PLA Document 155 Filed 07/19/21 Page 14 of 16 Page ID
                                 #:6912
Case 2:18-cv-07241-CAS-PLA Document 155 Filed 07/19/21 Page 15 of 16 Page ID
                                 #:6913
Case 2:18-cv-07241-CAS-PLA Document 155 Filed 07/19/21 Page 16 of 16 Page ID
                                 #:6914
